Case 1:21-cv-00279-JJM-PAS Document 27 Filed 11/23/22 Page 1 of 2 PageID #: 387




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


 LOUIS KWAME FOSU,

                        Plaintiff,

        V.

 THE UNIVERSITY OF RHODE ISLAND,
 UNIVERSITY OF RHODE ISLAND BOARD
 OF TRUSTEES, DAVID M. DOOLEY,                         C.A. No. 21-cv-279-JJM-PAS
 PRESIDENT, THE UNIVERSITY OF
 RHODE ISLAND, DONALD DEHAYES,
 PROVOST AND VICE PRESIDENT FOR
 ACADEMIC AFFAIRS, AND JEANNETTE
 E. RILEY, DEAN, COLLEGE OF ARTS &
 SCIENCES, in their individual and official
 capacities,

                        Defendants.


        JOINT MOTION FOR ENTRY OF AGREED CONFIDENTIALITY ORDER

        Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiff and Defendants move the Court

 for the entry of the Agreed Confidentiality Order (“Confidentiality Order”), attached as Exhibit A,

 and state as follows in support of their request:

        1.      The parties are engaged in document discovery, and they are meeting and

 conferring regarding the scope of the requested documents.

        2.      As part of their “meet and confer” discussions, the parties have agreed that good

 cause exists for the entry of the Confidentiality Order, which will facilitate Defendants’ production

 of a significant number of documents.

        3.      The parties jointly participated in the drafting of the Confidentiality Order and have

 agreed to the form attached hereto.
Case 1:21-cv-00279-JJM-PAS Document 27 Filed 11/23/22 Page 2 of 2 PageID #: 388




         4.     The Confidentiality Order delineates the standards and process to designate a

 document as subject to its terms and allows the non-producing party to challenge a designation

 through a “meet and confer” process initially and a request for the Court’s review, if necessary.

         5.     In the interests of expediting the completion of document discovery and furthering

 the commencement of depositions, the parties request that the Court enter the Confidentiality

 Order for purposes of this litigation.

         The parties are available to confer with the Court if there are any questions or concerns

 pertaining to the Confidentiality Order.


  Plaintiff,                                       Defendants,

  By His Attorneys,                                By Their Attorney,

  /s/ Jessica Sanderson                            /s/ Steven M. Richard
  /s/ Ameer Gopalani                               Steven M. Richard (#4403)
  /s/ Mark P. Gagliardi                            Nixon Peabody LLP
  Jessica Sanderson (Admitted Pro Hac Vice)        One Citizens Plaza, Suite 500
  Ameer Gopalani (Admitted Pro Hac Vice)           Providence, RI 02903
  The Volkov Law Group, LLC                        Tel: 401-454-1020
  2200 Pennsylvania Avenue NW                      srichard@nixonpeabody.com
  Washington, D.C. 20037
  jsanderson@volkovlaw.com                         Dated: November 23, 2022

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  Dated: November 23, 2022
